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                                               UNITED STATES DISTRICT COURT
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                                                       DISTRICT OF NEVADA
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                                                                     2:06-CR-0085 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                    Plaintiff,                    Date:          N/A
                10                                                   Time:          N/A
                        v.
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                12      ROBERTO POPA,

                13                     Defendant.
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                17                                               ORDER
                18           Presently before the court is the finding and recommendation (#136) of United States
                19    Magistrate Judge Foley recommending that defendant’s motion for severance be denied.
                20    Magistrate Judge Foley required the parties to file objections to the finding and
                21    recommendation by October 13, 2006. No objections were filed.
                22           Magistrate Judge Foley’s finding and recommendation found that defendant Popa has
                23    not set forth sufficient grounds to support granting his motion for severance based on his intent
                24    to present exculpatory testimony by co-defendants. Furthermore, Magistrate Judge Foley
                25    found that defendant Popa will not be unfairly prejudiced through the introduction of evidence
                26    regarding separate and/or prior conspiracies of which he was not a member.
                27           Upon review of the magistrate judge’s finding and recommendation (#136) and there
                28
James C. Mahan
U.S. District Judge
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                  1   being no objections filed,
                  2          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Magistrate Judge
                  3   Foley’s finding and recommendation (#136) is AFFIRMED in its entirety.
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                             DATED this 23 rd day of October.
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                  8                                UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                              -2-
